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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORDA

                                      Case No.: 1:23-cv-20727-RKA


   RYAN BRESLOW, et al.,

           Plaintiffs,

   v.

   MARK PHILLIPS, et al.,

           Defendants.

   _________________________/

   MOVEMENTDAO, et al.,

           Counterclaim-Plaintiffs,

   v.

   RYAN BRESLOW, et al.,

           Counterclaim-Defendants.




          [PROPOSED] ORDER GRANTING MOTION FOR CLARIFICATION OF
                      TEMPORARY RESTRAINING ORDER


           THIS CAUSE having come before the Court on the Defendant and Counterclaim-

    Plaintiff Mark Phillips and Defendant Benjamin Reed’s (collectively, “Defendants”)

    Expedited Motion for Clarification of Temporary Restraining Order. This Court having

    considered the motion, the memoranda submitted in support of and in opposition thereto,

    and all other relevant factors, it is hereby

           ORDERED AND ADJUDGED that:


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              The Motion is GRANTED.

              The Order Granting the Plaintiffs’ Emergency Ex Parte Application for Entry of Temporary

   Restraining Order, dated February 28, 2023 [ECF No. 18] (the “TRO”) is clarified as follows:

      A. In order to comply with the TRO’s requirement that transfers of MovementDAO funds

             originating from the DAO Endowment Gnosis within thirty days of entry of the TRO be

             unwound, Defendants may utilize the cryptocurrency exchange platform Coinbase in

             transferring funds back to the DAO Endowment Gnosis without violating the TRO.

             Specifically, Defendants may transfer funds to Coinbase before transferring those funds from

             Coinbase to the DAO Endowment Gnosis.

      B. Defendants’ counsel, the Dhillon Law Group Inc. (“DLG”), is not required to return the

             $300,000 deposit it received from Defendants on February 13, 2023, insofar as that amount

             now represents fees earned by DLG.

              DONE AND ORDERED in Chambers at                                              , Florida,

    this-.        day of




                                                                       United States District Judge




    Copies furnished to: All Counsel of Record




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